       Case 3:05-cr-00058-SRU          Document 581        Filed 05/10/06      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA

         v.                                                  Case No. 3:05cr58 (SRU)

 ALEX LUNA, et al.

                    RULING ON MOTION TO DISMISS INDICTMENT

       Warren Hawkins and Arcardio Ramirez have been charged with conspiracy to possess

with intent to distribute and conspiracy to distribute cocaine and cocaine base. Hawkins has filed

a motion to dismiss the indictment due to the alleged insufficiency of grand jury evidence

pertaining to him. Ramirez has not filed a written motion, but during the final pre-trial

conference, moved orally to join Hawkins’ motion on the ground that the evidence before the

grand jury testimony pertaining to him was also insufficient.

       Hawkins argues that the only evidence before the grand jury relating to him was

testimony by DEA Agent Eileen Dinan regarding his purchase of an undescribed and

undetermined amount of drugs. Hawkins maintains that there was no testimony regarding any

alleged involvement on his part in a conspiracy to sell drugs. Although he filed his motion to

dismiss before he receiving the transcript of grand jury testimony, the government has now, in

advance of trial, provided the defendants with grand jury transcripts. The defendant has not

provided the court with excerpt of the transcripts.

       The Supreme Court has held that “‘[i]t would run counter to the whole history of the

grand jury institution’ to permit an indictment to be challenged ‘on the ground that there was

inadequate or incompetent evidence before the grand jury.’” United States v. Williams, 504 U.S.

36, 54 (1992) (quoting Costello v. United States, 350 U.S. 359, 363-364 (1956)). See also
       Case 3:05-cr-00058-SRU            Document 581         Filed 05/10/06       Page 2 of 2




United States v. DeLaurentis, 230 F.3d 659, 660-61 (3d Cir. 2000); United States v. Roth, 777

F.2d 1200, 1203 (7th Cir. 1985).

       To the extent that either of the defendants also allege that the prosecutor misled the grand

jury, such an argument is equally unavailing. In Williams, the Supreme Court considered the

appropriateness of judicial scrutiny of a prosecutor’s presentation before a grand jury:

          It would make little sense, we think, to abstain from reviewing the evidentiary
          support for the grand jury’s judgment while scrutinizing the sufficiency of the
          prosecutor’s presentation. A complaint about the quality or adequacy of the
          evidence can always be recast as a complaint that the prosecutor's
          presentation was “incomplete” or “misleading.” Our words in Costello bear
          repeating: Review of facially valid indictments on such grounds “would run
          counter to the whole history of the grand jury institution[,] [and] [n]either
          justice nor the concept of a fair trial requires [it].” 350 U.S., at 364, 76 S. Ct.,
          at 409.

Williams, 504 U.S. at 54-55 (footnote omitted). Accord United States v. Howard, 216 F.3d 1074

(2d Cir. 2000) (unpublished) (“A district court cannot dismiss an indictment because the

prosecution presented unreliable, misleading, or incomplete evidence to the grand jury.”).

       Because a district court has no power to review the evidence before a grand jury to

determine sufficiency or to consider allegations that a prosecutor presented incomplete or

misleading evidence to the grand jury, the defendants’ motion to dismiss the indictment is

DENIED.

       It is so ordered.

       Dated at Bridgeport, Connecticut, this 10th day of May 2006.


                                                               /s/ Stefan R. Underhill
                                                               Stefan R. Underhill
                                                               United States District Judge



                                                  -2-
